  [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]

             United States Court of Appeals
                 For the First Circuit

No. 97-1180

                   ALFONSO MENA-ROBLES,

                  Plaintiff, Appellant,

                            v.

                UNITED STATES OF AMERICA,

                   Defendant, Appellee.

       APPEAL FROM THE UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF PUERTO RICO

     [Hon. Salvador E. Casellas, U.S. District Judge]

                          Before

                Boudin, Stahl and Lynch,
                    Circuit Judges.

 Alfonso Mena-Robles on brief pro se.
 Guillermo Gil, United States Attorney, Nelson Perez-Sosa,
Assistant United States Attorney, and Jose A. Quiles-Espinosa,
Assistant United States Attorney, Senior Litigation Counsel, on
brief for appellee.

JUNE 2, 1998

        Per Curiam.  We have carefully reviewed the record
and briefs on appeal and affirm the judgment below.  The
appellant previously challenged the enhancement of his sentence
on direct appeal, and his purported new evidence was available
to him, with due diligence, prior to sentencing.  See generallySeville v. United States, 451 F.2d 649 (1st Cir. 1971).  Denial
of the 28 U.S.C.  2255 motion without a hearing was proper
given that the appellant's allegations are insufficient to
warrant relief.  David v. United States, 134 F.3d 470, 477 (1st
Cir. 1998).
          Affirmed.  Loc. R. 27.1.
